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                                                                              U.:. DIS l J,ICT COUR1
                                                                          NORTHERN DISTRICT OF Tf'XAS
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                         IN THE UNITED STATES DISTRICT CO RT .
                         FOR THE NORTHERN DISTRICT OF TE AS
                                                                                       JUL 2 2 2ul~
                                 FORT WORTH DIVISION
                                                                          . CLER   T   U.S. Dl'     'I('
ERIC PEDROZA, On Behalf of Himself and            §
                                                                            by                       -
All Others Similarly Situated,                    §                                       1),   '   '

                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §     CIVIL ACTION NO. 4:16-cv-00164-A
                                                  §
NOISE ATTENUATION CONSTRUCTION,                   §
LLC                                               §
                                                  §
       Defendant.                                 §

                    PLAINTIFF'S MOTION FOR LEGAL FEES AND COSTS

       Plaintiff Eric Pedroza ("Pedroza" or "Plaintiff') and his counsel file this Motion for

Legal Fees and Costs (the "Motion") as the prevailing party in the above-captioned lawsuit

pursuant to the Order and Final Judgment of Default ofthis Court entered on July 8, 2016. (ECF

Nos. 16 & 17). Plaintiff files this Motion within the time limit prescribed by FED. R. Crv. P.

54(d)(2), i.e., within 14 days from the entry of the Default Judgment.

       Pursuant to L.R. 7.1(d), this Motion is accompanied by a Brief in Support of Plaintiffs

Motion for Legal Fees and Costs, set forth below, which identifies, in detail, the factual and legal

basis for this Motion. Plaintiffs Motion and Brief are supported by evidence contained in

Plaintiffs Appendix, which is filed as a separate document pursuant to L.R. 7.1 (i). Plaintiff

incorporates that Brief and Appendix by reference as if set forth fully herein.

       [signature block on following page]




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                                             Respectfully submitted,



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                                             ATTORNEY FOR PLAINTIFF




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  PLAINTIFF'S BRIEF IN SUPPORT OF MOTION FOR LEGAL FEES AND COSTS

                 I.     INTRODUCTION AND PROCEDURAL HISTORY

       On March 1, 2016, Plaintiff filed his Original Complaint seeking damages under the

Federal Fair Labor Standards Act, 29 U.S.C. §§ 201-219, and the Federal Portal-to-Portal Pay

Act, 29 U.S.C. §§ 251-262 (collectively "FLSA"), for Defendant's failure to pay Plaintiff and

putative collective action members time and one-half their respective regular rates of pay for all

hours worked over 40 during each seven day workweek. (See ECF No. 9, Plaintiffs Original

Complaint).

       On May 10, 2016, Defendant was served through its registered agent, Mr. Armando

Gutierrez, Sr. , with an executed summons and all documents filed in the case to that date. (Se e

ECF No. 10, Proof of Service). Accordingly, Defendant was required to answer or otherwise

respond to the Complaint on or before May 31,2016. See FED. R. Crv. P. 12(a)(l)(A)(i).

       Defendant failed to answer or otherwise respond to the Complaint served on it in the time

provided by the Federal Rules of Civil Procedure, and Plaintiff moved for entry of default by the

Clerk of Court on June 7, 2016. (See ECF No. 11, Motion for Entry of Default). On the same

day, this Court entered an Order granting Plaintiffs request for entry of default directing that the

Clerk enter default, which the Clerk did. (See ECF Nos. 12 & 13, Order and Entry of Default).

       Subsequently, Plaintiff moved for default judgment against Defendant, which was

granted. (See ECF Nos. 14-16, Plaintiffs Motion for Default Judgment, Plaintiffs Appendix in

Support, Order, and Final Judgment of Default). Plaintiff now moves for the legal fees and costs

he has incurred in connection with this action as a prevailing plaintiff pursuant to 29 U.S.C. §

216(b) within the time period set forth in Federal Rule of Civil Procedure 54(d)(2)(B)(i).




                                                           I
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                                 II.      FACTUALBACKGROUND

         Defendant operated an oilfield services and products company, which provided services

including, but not limited, to noise control for drilling, fracking, and productions operations,

equipment cleaning, H2S safety services, flowback and well testing, and equipment rentals. (See

ECF No. 15, p. 42 (Declaration of Eric Pedroza ("Pedroza Decl."),        ~   2)). Plaintiff was an hourly

paid, non-exempt employee pursuant to the FLSA who worked as a swamper. (See ECF No. 15,

pp. 42-43 (Pedroza Decl.,    ~    3, 4)). Plaintiff routinely worked approximately sixty hour long

weeks, on average, and as a result completed substantial overtime work for Defendant. (See ECF

No. 15, p. 44 (Pedroza Decl.,    ~   8)). As demonstrated by his earning statements, Plaintiff was also

paid significant bonus pay in the form of "taxable" per diem pay, generic bonus pay, well

bonuses, and performance bonuses. (See ECF No. 15, pp. 37, 47-51 (Pedroza Decl.,                ~   9, 10,

Exhibit 1)). That bonus pay was never included in Plaintiff's regular rate of pay for purposes of

calculating his overtime premiums despite the fact that Plaintiff routinely worked over forty

hours in a seven-day workweek. (!d.).

         As a result of the damages sustained by Plaintiff and the failure of Defendant to answer,

appear, or otherwise respond to Plaintiff's Original Complaint, the Court entered judgment in

"the amount of $3,901, together with post-judgment interest thereon at a rate of .45%, computed

daily on the unpaid balance from the date of entry of [the] judgment until the full amount of the

judgment is paid, and compounded annually." (ECF No. 17, Final Judgment of Default of July 8,

2016).

         In connection with obtaining this result for Plaintiff, Plaintiff's counsel have incurred

certain moderate attorneys' fees and costs. Plaintiff, by and through counsel, now seek recovery

of those attorneys' fees and costs, which, as shown further infra, are mandatory under the FLSA.




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See Tyler v. Union Oil Co. of California, 304 F.3d 379, 404 (5th Cir. 2002); see also, Black v.

SettlePou, P.C. , 732 F.3d 492, 502 (5th Cir. 2013). Therefore, entry of judgment for Plaintiffs

attorneys' fees is non-discretionary, so long as Plaintiffs counsel demonstrate that thos hours

were reasonably expended. Perdue v. Kenny A., 559 U.S . 542, 552 (2010). As demonstrated

below, all hours spent on this case were reasonably necessary for the result obtained in this case

of full recovery of all damages in light of Defendant's default.

                         III.    ARGUMENTS AND AUTHORITIES

A. Statutory Authorization for Request for Attorneys' Fees and Costs

       The FLSA provides that "[t]he Court . . . shall, in addition to any judgment awarded to

the plaintiff ... , allow a reasonable attorney's fee to be paid by the defendant, and costs of the

action." 29 U.S.C. § 216(b); Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 167, 110 S. Ct.

482, 107 L. Ed. 2d 480 (1989). An award of attorney's fees and costs to a prevailing plaintiff is

mandatory. Tyler, 304 F.3d at 404; see also, SettlePou, P.C., 732 F.3d at 502. ("Under the FLSA,

an employer who violates the statute is also required to pay attorney's fees.").

B. Standard of Review

       A district court's award of attorney's fees is reviewed for abuse of discretion and its

factual findings for clear error. Black, 732 F.3d at 502 (citing Singer v. City of Waco, 324 F.3d

813, 829 (5th Cir. 2003). "[T]rial courts are considered experts as to the reasonableness of

attorney's fees" Primrose Operating Co. v. Nat'l Am. Ins. Co., 382 F.3d 546, 562 (5th Cir. 2004).

C. Plaintiff's Request for Attorneys' Fees

   1. Lodestar Legal Standard for Calculation of Legal Fees

       The lodestar is calculated by multiplying the number of hours an attorney reasonably

spent on the case by an appropriate hourly rate, which is the market rate in the community for


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this work. Black, 732 F.3d at 502 (citing Smith & Fuller, P.A. v. Cooper Tire & Rubber Co. , 685

F.3d 486, 490 (5th Cir. 2012). "There is a strong presumption of the reasonableness of the

lodestar amount. " Id. (citing Perdue, 559 U.S . at 552).

        "[A]fter calculating the lodestar, a district court may enhance or decrease the amount of

attorney's fees based on ' the relative weights of the twelve factors set forth in Johnson."' 1 The

12 Johnson factors are:

        (1) the time and labor required; (2) the novelty and difficulty of the issues in the
        case; (3) the skill requisite to perform the legal services properly; (4) the
        preclusion of other employment by the attorney due to acceptance of the case; (5)
        the customary fee charged for those services in the relevant community; (6)
        whether the fee is fixed or contingent; (7) time limitations imposed by the client
        or the circumstances; (8) the amount involved and the results obtained; (9) the
        experience, reputation, and ability of the attorneys; (1 0) the undesirability of the
        case; (11) the nature and length of the professional relationship with the client;
        and (12) awards in similar cases.

Johnson v. Georgia Highway Exp., Inc. , 488 F.2d at 717-19. However, "lodestar may not be

adjusted due to a Johnson factor that was already taken into account during the initial calculation

of the lodestar." Black, 732 F.3d at 502. "Plaintiffs seeking attorney's fees have the burden of

showing the reasonableness of the hours billed and that the attorneys exercised billing

judgment." Id. As succinctly stated by the Fifth Circuit, "the most critical factor in determining

an attorney's fee award is the degree of success obtained." Id. at 503.

     2. Lodestar in the Instant Action

        a. Base Lodestar Amount

        Plaintiff in this case was represented by Allen Vaught and certain associates with the firm

of Baron & Budd, P.C. ("Baron & Budd Attorneys"). Plaintiffs attorneys incurred a base

lodestar amount of$13,334.50. (See app. p. 23 (Exhibit C- Master Lodestar Spreadsheet)). That

1
 Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714 (5th Cir. 1974), abrogated on other
grounds by Blanchard v. Bergeron, 489 U.S. 87 (1989).


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amount is shown in the declaration of attorney Allen Vaught ("Vaught") and his time records, as

well as the time records of other attorneys working under the supervision of Vaught Melinda

Arbuckle ("Arbuckle"), and Farsheed Fozouni ("Fozouni") (collectively "Plaintiffs Counsel").

(App. pp. 1-17 (Exhibit A- Declaration of Allen R. Vaught ("Vaught Decl."))).

       Furthermore, the reasonableness of the hourly rates requested for lawyers is supported by

the declaration of J. Derek Braziel, an employment law attorney whose principal office and

practice is in the Northern District of Texas. (App. pp. 18-22 (Exhibit B - Declaration of J.

Derek Braziel ("Braziel Decl."))). See also, Gromer v. Mack, Civ. No. 3:11-CV-0682-D, 2012

WL 28835, at* 1-3 (N.D. Tex. Jan. 4, 2012) (Fitzwater, J.).

       b. Adjusted Lodestar Amount

       From the base lodestar amount, Plaintiff and his counsel made write-offs for billing

judgment and clerical work to arrive at the adjusted lodestar amount of $12,001.05, which they

request this Court adopt as the legal fees owed in this case by Defendant. (App. p. 11-12 (Exhibit

A- Vaught Decl.    ~~   37-40)). The adjusted lodestar amount is identified in the Master Lodestar

Spreadsheet under the column "Adjusted Lodestar." (App. p. 23 (Exhibit C - Master Lodestar

Spreadsheet)).

   3. Reasonableness of Hours Billed and Billing Judgment- Johnson Factors

       Plaintiff addresses the relevant Johnson factors in the declaration of Attorney Vaught, but

would note here, in support of the billing judgment factor, that Plaintiffs counsel's total lodestar

amount was reduced by 10% to address billing judgment for the attorneys. (App. p. 11-12

(Exhibit A- Vaught Decl.     ~~   37-40)). See Saizan v. Delta Concrete Products Co., 448 F.3d 795,

800 (5th Cir. 2006) (approving 10% reduction in legal fees where plaintiffs counsel failed to

address billing judgment in fee petition). While Plaintiffs Counsel believe that their detailed



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billing records warrant less than a 10% reduction, this reduction is nevertheless made in an effort

to arrive at a conservative lodestar amount.

        With regard to the Johnson factor relating to the customary fees charged in the relevant

community, Plaintiff has provided the declaration of J. Derek Braziel, an experienced FLSA

attorney in the Dallas Fort Worth area to show support for the reasonable and moderate legal fees

sought by Plaintiffs Counsel. (App. pp. 18-22 (Exhibit B- Braziel Decl.)). Furthermore, courts

in this district have supported reasonable rates in line with those that Plaintiffs Counsel request

here. See, e.g., Olibas v. Native Oilfield Servs., LLC, 104 F. Supp. 3d 791, 809-810 (2015).

        Additionally, Plaintiffs Counsel have represented Plaintiff solely on a contingency fee

basis, and therefore seek reasonable and moderate fees and costs to offset the time and effort

expended.

D. Plaintifrs Request for Costs

    1. Legal Standard for Calculation of Costs in a FLSA Case

        The Federal Rules of Civil Procedure provide that "costs-other than attorney's fees-

should be allowed to the prevailing party." FED. R. Crv. P. 54(d). Furthermore, the FLSA allows

for the recovery of costs. See 29 U.S.C. § 216(b). Costs which are recoverable in FLSA cases are

based on Section 1920 and are limited to include filing fees, witness fees, court

reporting/transcripts for depositions, necessary copying costs, and interpreting services. 28

U.S.C. § 1920; Hernandez v. Aleman Construction, Inc., No. 3:10-cv-2229-BN, 2013 WL

5873289, at *6-7 (N.D. Tex. Nov 1, 2013) (FLSA case analyzing what costs are recoverable by a

prevailing plaintiff).




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      2. Recoverable Costs Incurred by Plaintiff

          Plaintiff and Plaintiffs Counsel seek costs in the amount of $771.29 for filing fees and

courier fees in the instant case. (App. pp. 12, 24 (Exhibit A- Vaught Decl.     ~~   41-42, Exhibit D -

B&B Statement of Costs)).

E. Post-Judgment Interest and Fees After the Filing of this Motion

          Plaintiffs in FLSA cases are entitled to an award of post-judgment interest at the

prevailing rate. 28 U.S.C. § 1961(a) ("[i]nterest shall be allowed on any money judgment in a

civil case recovered in a district court."). See also Reeves v. Int'l Tel. & Tel. Corp., 705 F.2d 750,

751-52 (5th Cir. 1983) (FLSA case awarding post-judgment interest). Furthermore, for the

reasons stated above, Plaintiff is entitled to recovery of fees for work performed in connection

with the FLSA claims after the filing of this Motion, including fees incurred on appeal, if any, of

the Court's Order on this Motion.

                                       IV.      CONCLUSION

          As a prevailing plaintiff pursuant to the Default Judgment entered in this case, 2 Plaintiff,

and Plaintiffs Counsel, are entitled to an award of reasonable legal fees and costs. For the above

reasons, Plaintiff, and Plaintiffs Counsel, request that the Court award legal fees in the amount

of $12,001.05 and costs in the amount of $771.29 in addition to post-judgment interest at the

prevailing rate. Plaintiff, and Plaintiffs Counsel, request that they be allowed to submit a

supplemental fee petition for fees incurred after the filing of this Motion, as necessary.

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2
    See ECF Nos. 15 & 16, Order and Final Judgment ofDefault.


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